                                NOT FOR PUBLICATION WITHOUT THE
                               APPROVAL OF THE APPELLATE DIVISION
        This opinion shall not "constitute precedent or be binding upon any court ." Although it is posted on the
     internet, this opinion is binding only on the parties in the case and its use in other cases is limited. R. 1:36-3.




                                                        SUPERIOR COURT OF NEW JERSEY
                                                        APPELLATE DIVISION
                                                        DOCKET NO. A-1503-23

LAW OFFICE OF EUGENE D.
ROTH and GORSKI &amp;
KNOWLTON, PC,

          Plaintiffs-Respondents,

v.

ANGELO SLABAKIS,

     Defendant-Appellant.
___________________________

                   Argued August 13, 2024 – Decided August 23, 2024

                   Before Judges Mayer, Firko and Bishop-Thompson.

                   On appeal from an interlocutory order of the Superior
                   Court of New Jersey, Law Division, Monmouth
                   County, Docket No. L-1973-22.

                   Saeed A. Rizvi argued the cause for appellant (Law
                   Office of Saeed A. Rizvi, LLC, attorneys; Saeed A.
                   Rizvi, on the briefs).

                   Paul V. Fernicola argued the cause for respondents
                   (Paul V. Fernicola &amp; Associates, LLC, attorneys; Paul
                   V. Fernicola, of counsel and on the brief; Robert E.
                   Moore, on the brief).
PER CURIAM

      By leave granted, we review the following orders: an October 19, 2023

order denying a motion filed by defendant Angelo Slabakis to disqualify counsel

for plaintiffs Law Office of Eugene D. Roth and Gorkski &amp; Knowlton, PC, and

granting plaintiffs' motion for a protective order; and a December 4, 2023 order

denying reconsideration of the October 19, 2023 order. We affirm all orders on

appeal.

      We summarize the facts from the motion record. In 2015 and 2016,

plaintiffs represented defendant in two bankruptcy cases pending before the

United States Bankruptcy Court for the District of New Jersey (bankruptcy

matters). Paul V. Fernicola &amp; Associates, LLC (Fernicola firm) and Paul V.

Fernicola worked with plaintiffs in representing defendant's interests in the

bankruptcy matters.

      Defendant retained the Fernicola firm because Fernicola is a certified trial

attorney and the bankruptcy matters were likely to proceed to trial. Plaintiffs

are experienced bankruptcy counsel but are not certified trial attorneys. The

signed written retainer agreement between Fernicola and defendant provided the

Fernicola firm would represent defendant and his company, Trainon, LLC, "in

a limited scope" pertaining to the bankruptcy matters. Specifically, the retainer


                                                                            A-1503-23
                                        2
agreement stated the Fernicola firm would "assist in opposing [a pending]

motion to hold [defendant] in contempt and to attempt to resolve[] outstanding

discovery issues" in the bankruptcy matters. Because the bankruptcy matters

resolved prior to trial, the Fernicola firm's work on defendant's behalf was even

more limited.

      In 2018, after dismissal of the bankruptcy matters, the Fernicola firm filed

a complaint against defendant in the Superior Court of New Jersey, Law

Division, Monmouth County, to collect unpaid legal fees related to the

bankruptcy matters (Fernicola collection action). After the close of discovery,

the Fernicola firm moved for summary judgment. In an April 16, 2019 order,

the motion judge granted summary judgment in favor of the Fernicola firm,

finding defendant liable for payment of legal fees owed to the Fernicola firm for

representing defendant in the bankruptcy matters. On August 29, 2019, the

judge entered a final judgment against defendant in the amount of $38,304.81.

      Defendant made payments to satisfy the judgment in the Fernicola

collection action. In January 2020, the Fernicola firm filed a warrant to satisfy

judgment, evidencing defendant's satisfaction of the August 29, 2019 final

judgment.




                                                                            A-1503-23
                                        3
      Plaintiffs had separate retainer agreements with defendant for their legal

services in the bankruptcy matters. Plaintiffs invoiced defendant monthly for

legal work in the bankruptcy matters. Although defendant paid some of the

invoiced amounts, plaintiffs asserted defendant still owed legal fees.

      From 2016 through 2018, plaintiffs corresponded with defendant,

requesting payment for their legal services in the bankruptcy matters. Defendant

responded he had ongoing projects, and anticipated those projects would

generate sufficient income to pay plaintiffs' outstanding legal fees. Despite

promising to pay the outstanding invoices, defendant made no additional

payments to plaintiffs.

      On November 20, 2020, defendant executed an affidavit of confession of

judgment (Confession of Judgment), acknowledging he and Trainon, LLC owed

the Law Office of Eugene D. Roth the sum of $127,856.93. About one year

later, the Law Office of Eugene D. Roth, defendant, and Trainon, LLC executed

a "Modified Forbearance Agreement" (Forbearance Agreement) regarding

outstanding legal fees in the bankruptcy matters.

      Under the Forbearance Agreement, defendant agreed to pay $100 for three

months, commencing November 1, 2021, and pay the balance owed for legal

services in the bankruptcy matters by January 31, 2022. If defendant made the


                                                                          A-1503-23
                                       4
payments under the Forbearance Agreement, the Law Office of Eugene D. Roth

agreed to accept $125,000 in full satisfaction of its unpaid legal fees. However,

defendant defaulted on his obligations under the Forbearance Agreement.

      As a result of defendant's failure to make payments under the Forbearance

Agreement, in July 2022, plaintiffs filed a collection action against defendant in

the Superior Court of New Jersey, Monmouth County, Law Division (book

account action). Fernicola and the Fernicola firm represented plaintiffs in the

book account action.

      In September 2022, defendant filed an answer and counterclaim against

plaintiffs. In his counterclaim, defendant alleged plaintiffs charged excessive,

unreasonable, and unconscionable legal fees for their work in the bankruptcy

matters. According to defendant, the law firm filing the September 22 answer

and counterclaim consisted of transactional attorneys rather than litigators, and

counsel filed the responsive pleading on his behalf to avoid the entry of default.

      Defendant subsequently retained new counsel, who filed a substitution of

attorney on December 1, 2022.1 At a December 8, 2022 case management

conference, defense counsel represented defendant intended to file a motion to



1
  Substituted counsel, who represented defendant in the book account action,
represents defendant on appeal.
                                                                            A-1503-23
                                        5
disqualify Fernicola and the Fernicola firm from continuing to represent

plaintiffs in the book account action.

      Despite the representation made by defense counsel at the December 8

case management conference, defendant did not move to disqualify plaintiffs'

counsel until June 22, 2023. According to defense counsel, "[d]ue to the holiday

season" and his "being a solo practitioner with no staff and a large caseload,"

defendant was unable to file the disqualification motion sooner.

      On March 6, 2023, plaintiffs moved for summary judgment based on the

Confession of Judgment. Defendant opposed the motion and filed a cross-

motion to vacate the Confession of Judgment.

      According to defense counsel, defendant "was forced to pivot and defend

against [p]laintiffs' motion and file a [c]ross-[m]otion to [v]acate the Confession

of Judgment." Defendant purportedly sought to avoid incurring legal expenses

associated with the filing of a disqualification motion until the motion judge

decided plaintiffs' summary judgment motion and his motion to vacate the

Confession of Judgment. The trial court judge denied the motions on May 26,

2023, and extended fact discovery to September 2023.

      On June 22, 2023, defendant moved to disqualify Fernicola and the

Fernicola firm from representing plaintiffs in the book account action. In


                                                                             A-1503-23
                                         6
seeking the disqualification of plaintiffs' counsel, defendant argued that "to fully

prosecute [his] counterclaim and defend against [p]laintiffs' [book account

action]," he required "Fernicola's attorney notes and/or correspondence between

Fernicola and third-parties related to the [b]ankruptcy [m]atters which [was]

unobtainable from any source other than Fernicola." Plaintiffs opposed the

motion and filed a cross-motion for a protective order.

      During argument on the motions, the judge asked defense counsel to

articulate the arguments in support of disqualification. Defense counsel asserted

Rule of Professional Conduct (RPC) 1.9(a) barred Fernicola and his firm from

representing plaintiffs in the book account action based on Fernicola's

representation of defendant in the bankruptcy matters.2          Defense counsel

explained: "[T]his case is all about the reasonableness of the fees, whether they

were pursuant to the standard of care or not," and asserted "the issues are related,

and the evidence is the same or substantially similar." In an October 19, 2023

order, the motion judge denied defendant's disqualification motion.

      In a decision placed on the record at the conclusion of the motion

arguments, the judge provided a procedural and a substantive reason for denying



2
   During oral argument on the disqualification motion, defense counsel never
raised RPC 3.7 as a basis for disqualifying Fernicola and the Fernicola firm.
                                                                              A-1503-23
                                         7
defendant's disqualification motion.     In support of the procedural basis for

denying the motion, the judge, relying on Alexander v. Primerica Holdings, 822

F.Supp. 1099 (D.N.J. 1993), found defendant delayed in filing the

disqualification motion, resulting in his waiver of the right to pursue such relief.

The judge stated defendant waited to file the disqualification motion until June

2023, nearly one year after Fernicola filed plaintiffs' book account action,

despite knowing of the potential conflict at the time plaintiffs' filed their

complaint.

      The judge further denied defendant's disqualification motion on

substantive grounds. The judge explained he failed to see "how the mere fact

that there were fees charged by plaintiffs' counsel in the underlying bankruptcy,

which was the subject of [the Fernicola collection action], which ha[d] been

resolved, and [for which] fees [had] been paid," warranted the disqualification

of Fernicola and the Fernicola firm from serving as plaintiffs' counsel in the

book account action.     As the judge stated, "to the extent that [defendant]

need[ed] to know what the fees [charged by the Fernicola firm in the bankruptcy

matters] were and . . . how much [the Fernicola firm in the bankruptcy matters]

was paid, there's an entire file on that," referring to the Fernicola collection

action. Further, the judge concluded there was "no direct relationship" between


                                                                              A-1503-23
                                         8
the fees charged by Fernicola in the bankruptcy matters and plaintiffs' book

account action to collect their unpaid legal fees in the bankruptcy matters. In

denying defendant's disqualification motion, the judge also found the

disqualification of Fernicola and the Fernicola firm after defendant litigated the

book account action for nearly a year "would be . . . unduly prejudicial to []

plaintiff[s]."

      For the same reasons he denied defendant's disqualification motion, the

judge also granted plaintiffs' motion for a protective order. In the October 19,

2023 order, the judge "barr[ed] [d]efendant from serving discovery upon,

deposing and/or presenting testimony at trial of Paul V. Fernicola, Esq."

      Thereafter, defendant moved for reconsideration, which the judge denied

in a December 4, 2023 order. Defendant filed a motion for leave to appeal from

the October 19, 2023 and December 4, 2023 orders. In a January 22, 2024 order,

we granted defendant's motion and accelerated the appeal.

      On appeal, defendant raises the following arguments: the judge erred in

denying his motion to disqualify plaintiffs' counsel in the book account action;

the judge abused his discretion in granting plaintiffs' motion for a protective

order; and RPC 3.7(a) precluded Fernicola's representation of plaintiffs in the

book account action. We reject these arguments.


                                                                            A-1503-23
                                        9
      "[A] determination of whether counsel should be disqualified is, as an

issue of law, subject to de novo plenary appellate review." City of Atl. City v.

Trupos, 201 N.J. 447, 463 (2010). The burden is on the movant, defendant in

this case, to prove a basis for disqualification. See State v. Hudson, 443 N.J.

Super. 276, 282 (App. Div. 2015).

      In reviewing a motion for the disqualification of adverse counsel based on

the RPCs, courts are required to "balance competing interests, weighing the need

to maintain the highest standards of the profession against a client's right freely

to choose his counsel." Twenty-First Century Rail Corp. v. N.J. Transit Corp.,

210 N.J. 264, 273-74 (2012) (quoting Dewey v. R.J. Reynolds Tobacco Co., 109

N.J. 201, 218 (1988)). "[T]o strike that balance fairly, courts are required to

recognize and to consider that 'a person's right to retain counsel of his or her

choice is limited in that there is no right to demand to be represented by an

attorney disqualified because of an ethical requirement.'" Id. at 274 (quoting

Dewey, 109 N.J. at 218).

      "Disqualification of counsel is a harsh discretionary remedy which must

be used sparingly." Dental Health Assocs. S. Jersey, P.A. v. RRI Gibbsboro,

LLC, 471 N.J. Super. 184, 192 (App. Div. 2022) (quoting Cavallaro v. Jamco

Prop. Mgmt., 334 N.J. Super. 557, 572 (App. Div. 2000)). Disqualification


                                                                             A-1503-23
                                       10
motions are "viewed skeptically in light of their potential abuse to secure tactical

advantage." Escobar v. Mazie, 460 N.J. Super. 520, 526 (App. Div. 2019)

(citing Dewey, 109 N.J. at 218).

      We begin with defendant's contention, raised for the first time on appeal,

that RPC 3.7(a) precludes Fernicola's representation of plaintiffs in the book

account action. Having reviewed the record, defendant did not present this

argument to the motion judge in support of his disqualification motion. In fact,

defendant's citations to the record on appeal do not reflect any arguments offered

to the motion judge for disqualification based on RPC 3.7(a).

      We "decline to consider questions or issues not properly presented to the

trial court when an opportunity for such a presentation is available 'unless the

questions so raised on appeal go to the jurisdiction of the trial court or concern

matters of great public interest.'" Nieder v. Royal Indem. Ins. Co., 62 N.J. 229,

234 (1973) (quoting Reynolds Offset Co., Inc. v. Summer, 58 N.J. Super. 542,

548 (App. Div. 1959)). Neither situation is present here. Thus, we decline to

consider this argument.

      We next review the judge's denial of defendant's disqualification motion

under RPC 1.9(a). This RPC provides: "[a] lawyer who has represented a client

in a matter shall not thereafter represent another client in the same or a


                                                                              A-1503-23
                                        11
substantially related matter in which that client's interests are materially adverse

to the interests of the former client unless the former client gives informed

consent confirmed in writing." RPC 1.9(a).

      RPC 1.9(a) "is triggered when two factors coalesce: the matters between

the present and former clients must be 'the same or . . . substantially related,' and

the interests of the present and former clients must be 'materially adverse.'"

Trupos, 201 N.J. at 462 (omission in original). Our Supreme Court stated

"matters are deemed to be 'substantially related' if (1) the lawyer for whom

disqualification is sought received confidential information from the former

client that can be used against that client in the subsequent representation of

parties adverse to the former client, or (2) facts relevant to the prior

representation are both relevant and material to the subsequent representation."

Twenty-First Century Rail, 210 N.J. at 274 (quoting Trupos, 201 N.J. at 467).

      Applying the governing case law, Fernicola's representation of plaintiffs

would violate RPC 1.9 if: (1) the Fernicola firm's representation of plaintiffs in

the book account action is the same as, or substantially related to, the bankruptcy

matters; (2) the interests of plaintiffs and defendant are materially adverse; and

(3) defendant did not provide written informed consent to Fernicola's

representation of plaintiffs.


                                                                              A-1503-23
                                        12
        Having reviewed the record, defendant is unable to satisfy the first prong

of RPC 1.9(a). The facts relevant to Fernicola's representation of defendant in

the bankruptcy matters are not the same or substantially related to the facts

pertaining to plaintiffs' book account action.        Fernicola handled pretrial

discovery and certain pretrial motions on defendant's behalf in the bankruptcy

matters. In the book account action, Fernicola filed suit to recover unpaid legal

fees owed to plaintiffs for their work on defendant's behalf in the bankruptcy

matters. We agree with the motion judge that defendant failed to establish a

"direct relationship between . . . the representation that [Fernicola] undertook in

his part of the bankruptcy and the fees associated with the kind of work

performed by the other attorneys who are bringing [the book account action]."

        Nor did defendant identify any confidential information Fernicola

received in representing defendant in the bankruptcy matters that could be used

against him in the book account action.        The bankruptcy matters involved

complex bankruptcy issues, requiring the legal acumen of experienced

bankruptcy counsel to address the bankruptcy issues, and the skills of a certified

trial attorney to handle the trial issues.3 In the book account action, plaintiffs

seek payment for legal services rendered on defendant's behalf in the bankruptcy


3
    As we previously noted, the bankruptcy matters resolved prior to trial.
                                                                              A-1503-23
                                        13
matters. Such payment has nothing to do with the merits of the bankruptcy

matters.

      Additionally, because the bankruptcy matters never went to trial,

Fernicola certified he gained no confidential information from his representation

of defendant in the bankruptcy matters. On this record, nothing in Fernicola's

representing of defendant in the bankruptcy matters is the same as, or

substantially related to, plaintiffs' book account action.

      In support of his arguments for disqualification, defendant relies on In re

Estate of Krivulka, Nos. A-0863-20 and A-0803-20 (App. Div. Aug. 26, 2022).

However, defendant's reliance on that case is misplaced for several reasons.

First, Krivulka is an unpublished decision. "No unpublished opinion shall

constitute precedent or be binding upon any court." R. 1:36-3.

      Additionally, the facts before the panel in Krivulka are distinguishable

from the facts in this matter. In Krivulka, the court determined the matters in

which the defendant law firm represented the parties were the same—legal

matters related to estate planning and estate administration.      Here, the two

matters are not the same.       Fernicola's representation of defendant in the

bankruptcy matters bears no similarity to Fernicola's representation of plaintiffs

in the book account action.


                                                                            A-1503-23
                                       14
      Moreover, unlike the plaintiff in Krivulka, who had no knowledge of

documents evidencing the defendant law firm's strategies directly adverse to the

plaintiff in the estate matters, defendant knew for almost a year that he had a

basis to seek Fernicola's disqualification. Indeed, at least six months before

filing the disqualification motion, defense counsel advised the judge that

defendant intended to seek the disqualification of plaintiffs' counsel. Further,

unlike the defendant law firm in Krivulka, neither plaintiffs nor Fernicola

withheld information justifying defendant's delay in filing the disqualification

motion.

      In defending against the book account action, defendant argues he intends

to challenge "the reasonableness of [p]laintiffs' legal fees in the [b]ankruptcy

matters." Defendant asserts, "whether [p]laintiffs unlawfully billed [defendant]

for activities/services Fernicola rendered is material to whether [p]laintiffs ' legal

fees were reasonable."

      Defendant has invoices for Fernicola's legal work in the bankruptcy

matters from the Fernicola collection action.        He thus possesses sufficient

information to challenge whether he "may have been excessively and/or

duplicate billed for same by [p]laintiffs."       Defendant may use Fernicola's


                                                                               A-1503-23
                                        15
invoices in the bankruptcy matters to establish his affirmative defenses and

counterclaim in the book account action. Defense counsel may dispute the

reasonableness of plaintiffs' invoices in the bankruptcy matters by comparing

those invoices with Fernicola's invoices without requiring disqualification of

Fernicola and the Fernicola firm.     Nothing in Fernicola's representation of

plaintiffs in the book account action precludes defense counsel from cross-

examining plaintiffs regarding their fees charged in the bankruptcy matters. On

this record, we are satisfied the motion judge properly denied defendant's

disqualification motion.

      We next consider defendant's argument that the judge abused his

discretion in granting plaintiffs' request for a protective order. Our scope of

review of a protective order determination is deferential. State v. Ramirez, 252

N.J. 277, 298 (2022).      The issuance of a protective order is considered a

discovery matter, and "[a]ppellate courts 'generally defer to a trial court's

disposition of discovery matters unless the court has abused its discretion or its

determination is based on a mistaken understanding of applicable law.'" Ibid.
(quoting State v. Brown, 236 N.J. 497, 521 (2019)).

      Here, we discern no abuse of discretion in granting plaintiffs' request for

a protective order. The discovery defendant seeks from Fernicola relates to


                                                                            A-1503-23
                                       16
plaintiffs' alleged duplicate, unreasonable, and excessive legal fees charged in

the bankruptcy matters. As we previously stated, defendant has Fernicola's

invoices related to the bankruptcy matters from the Fernicola collection action.

Defendant is free to use those invoices to challenge the reasonableness of the

fees charged by plaintiffs in the bankruptcy matters. Under the circumstances,

defendant has the ability to contest the reasonableness of plaintiffs' legal fees

without requiring additional discovery from Fernicola.

      We next consider defendant's contention that the judge erred in denying

his motion for reconsideration of the October 19, 2023 order. Although the

December 4, 2023 order denying reconsideration was included in his notice of

appeal, defendant failed to brief the issue in his initial merits brief or reply brief.

"An issue that is not brief is deemed waived upon appeal." N.J. Dep't of Envtl.

Prot. v. Alloway Twp., 438 N.J. Super. 501, 505 n.2 (App. Div. 2015) (citing

Fantis Foods v. N. River Ins. Co., 332 N.J. Super. 250, 266-67 (App. Div.

2000)). Additionally, the judge denied defendant's reconsideration motion for

the same reason he denied defendant's disqualification motion, which we now

affirm.




                                                                                A-1503-23
                                         17
      To the extent we have not specifically addressed any of defendant's

remaining arguments, we conclude they lack sufficient merit to warrant

discussion in a written opinion. R. 2:11-3(e)(1)(E).

      Affirmed.




                                                                   A-1503-23
                                      18
